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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:20−cr−00080
                                                           Honorable Gary Feinerman
Carter Brett
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 8, 2020:


         MINUTE entry before the Honorable Gary Feinerman:as to Carter Brett. By
agreement [28], the status hearing set for 12/15/2021 [26] is stricken and re−set for
3/15/2021 at 9:45 a.m. By 3/8/2021, the parties shall file a joint status report addressing:
(1) whether a sentencing hearing may be scheduled; and (2) whether the 3/15/2021 status
hearing should be rescheduled. Defendant's presence is waived for the 3/15/2021 status
hearing. Attorneys/Parties should appear for the hearing by calling the Toll−Free Number:
(877) 336−1828, Access Code: 4082461. Members of the public and media will be able to
call in to listen to this hearing (use toll free number). Please, please be sure to keep your
phone on mute when you are not speaking. Persons granted remote access to proceedings
are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice. (jlj, )




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